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 8                        UNITED STATES DISTRICT COURT
 9                       EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,              )
                                            )      2:06-cr-441-GEB-EFB
11                   Plaintiff,             )
                                            )      ORDER SETTING STATUS
12             v.                           )      CONFERENCE ON DEFENDANT
                                            )      HAYLES’REPRESENTATION
13   DONALD HAYLES, a.k.a. DONALD           )
     FOUCHE, “D”,                           )
14                                          )
                     Defendant.             )
15                                          )
16             The Clerk’s Office has informed the undersigned that
17   Attorney Adam D. Fein, (Counsel for Defendant Donald Hayles) has
18   not paid a pro hac vice application fee, and consequently, the pro
19   hac vice application he emailed to the Court’s email address for
20   proposed orders is incomplete.      The pro hac vice application was
21   required to be filed on the court’s docket and the fee was required
22   to be paid before said filing.
23             Therefore, another status hearing is scheduled on April
24   25, 2008, at 9:00 a.m. to determine the status of Mr. Fein’s
25   representation of Defendant Hayles.        Since it is unclear whether
26   ///
27   ///
28   ///
              Case 2:06-cr-00441-DAD Document 140 Filed 04/11/08 Page 2 of 2


 1   Mr. Fein has agreed to electronic service of this order, the Clerk
 2   of Court is directed to serve a copy of this order on Mr. Fein by
 3   mail.
 4                IT IS SO ORDERED.
 5   Dated:     April 10, 2008
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 7                                      GARLAND E. BURRELL, JR.
                                        United States District Judge
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